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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   GUSTAVO MONTES VASQUEZ
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )     No. CR-S-07-360 EJG
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER TO CONTINUE
13        v.                         )     STATUS CONFERENCE
                                     )
14   GUSTAVO MONTEZ VASQUEZ, ET AL )
                                     )     Date:    June 6, 2008
15                  Defendants.      )
                                     )     Time: 10:00 a.m.
16   _______________________________ )     Judge: Hon. Edward J. Garcia
17
18
           It is hereby stipulated between the parties, Heiko Coppola,
19
     Assistant United States Attorney, Caro Marks, attorney for defendant
20
     Gustavo Montez Vasquez, and Michael Long, attorney for defendant
21
     Benjamin Lozano Rosas, as follows:
22
          The Status Conference date of May 16, 2008 should be continued
23
     until June 6, 2008.    Defense attorney Marks is currently in jury trial
24
     and needs the additional time to work with the government on a
25
     resolution to this case.
26
          Therefore the parties stipulate and agree on a continuance until
27
     June 6, 2008.
28
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 1         IT IS STIPULATED that the period from the signing of this Order up
 2   to and including June 6, 2008 be excluded in computing the time within
 3   which trial must commence under the Speedy Trial Act, pursuant to                18
 4   U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing preparation
 5   of counsel.
 6   Dated: May 15, 2008                   Respectfully submitted,
 7                                             DANIEL BRODERICK
                                               Federal Defender
 8
                                               /s/ Caro Marks
 9                                              ________________________
                                               CARO MARKS
10                                             Assistant Federal Defender
                                               Attorney for Defendant
11                                             GUSTAVO MONTES VASQUEZ
12   Dated: May 15, 2008
                                               /s/ Michael Long
13                                             ________________________
                                               MICHAEL LONG, ESQ.
14                                             Attorney for Defendant
                                               BENJAMIN LOZANO ROSAS
15
16   Dated:     May 15, 2008                   MCGREGOR SCOTT
                                               United States Attorney
17
18                                              /s/ Heiko Coppola
                                               _________________________
19                                             HEIKO COPPOLA
                                               Assistant U.S. Attorney
20
21                                           ORDER
22             UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
23   ordered that the status conference presently set for May 16, 2008, be
24   continued to June 6, 2008, at 10:00 a.m.           Based on the representation
25   of defense counsel and good cause appearing therefrom, the Court hereby
26   finds that the failure to grant a continuance in this case would deny
27   defense counsel reasonable time necessary for effective preparation,
28   taking into account the exercise of due diligence.             The Court finds


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 1   that the ends of justice to be served by granting a continuance
 2   outweigh the best interests of the public and the defendant in a speedy
 3   trial.     It is ordered that time from this date to, and including, the
 4   June 6, 2008 status conference shall be excluded from computation of
 5   time within which the trial of this matter must be commenced under the
 6   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(8)(A) and (B)(iv) and
 7   Local Code T-4, to allow defense counsel time to prepare.
 8   Dated: May 15, 2008
 9                                             /s/ Edward J. Garcia
                                               EDWARD J. GARCIA
10                                             Senior United States District Judge
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     Stip & Order/Gustavo Montes Vasquez      -3-
